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06                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
07                                     AT SEATTLE

08 UNITED STATES OF AMERICA,              )            CASE NO. CR09-099-RSL
                                          )
09         Plaintiff,                     )
                                          )
10         v.                             )
                                          )            DETENTION ORDER
11   RASOUL PRESTON JEWELL,               )
                                          )
12         Defendant.                     )
     ____________________________________ )
13

14 Offense charged:        Felon in Possession of Firearm (two counts)

15 Date of Detention Hearing:     May 4, 2009

16          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

17 based upon the factual findings and statement of reasons for detention hereafter set forth, finds

18 that no condition or combination of conditions which defendant can meet will reasonably assure

19 the appearance of defendant as required and the safety of other persons and the community.

20         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

21          (1)    Defendant has a lengthy criminal record that includes multiple failures to appear,

22 failures to report, and failures to comply with court orders, including failure to participate in


     DETENTION ORDER                                                                         15.13
     18 U.S.C. § 3142(i)                                                                  Rev. 1/91
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01 chemical dependency treatment. He was terminated from a Drug Court Program in state court.

02          (2)    He is not employed, and reports no assets or income.

03          (3)    In an incident arising out of a 2005 arrest, he is alleged to have swung at a police

04 officer’s head with a closed fist.

05          (4)    Defendant poses a risk of nonappearance due to a history of failure to appear and

06 failure to abide by terms of supervision, lack of employment, controlled substance use despite

07 previous treatment, and possible mental health condition. Defendant poses a risk of danger based

08 on alleged controlled substance use, a history of an attempt to assault a police officer, and the

09 nature of the instant charge.

10          (5)    There does not appear to be any condition or combination of conditions that will

11 reasonably assure the defendant’s appearance at future Court hearings while addressing the

12 danger to other persons or the community.

13 It is therefore ORDERED:

14          (1)    Defendant shall be detained pending trial and committed to the custody of the

15                 Attorney General for confinement in a correction facility separate, to the extent

16                 practicable, from persons awaiting or serving sentences or being held in custody

17                 pending appeal;

18          (2)    Defendant shall be afforded reasonable opportunity for private consultation with

19                 counsel;

20          (3)    On order of a court of the United States or on request of an attorney for the

21                 Government, the person in charge of the corrections facility in which defendant

22                 is confined shall deliver the defendant to a United States Marshal for the purpose


     DETENTION ORDER                                                                           15.13
     18 U.S.C. § 3142(i)                                                                    Rev. 1/91
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01               of an appearance in connection with a court proceeding; and

02         (4)   The clerk shall direct copies of this Order to counsel for the United States, to

03               counsel for the defendant, to the United States Marshal, and to the United States

04               Pretrial Services Officer.

05         DATED this 4th day of May, 2009.



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07                                             Mary Alice Theiler
                                               United States Magistrate Judge
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     DETENTION ORDER                                                                       15.13
     18 U.S.C. § 3142(i)                                                                Rev. 1/91
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